Case 1:19-cr-00117-KAM         Document 57        Filed 08/29/21      Page 1 of 2 PageID #: 617

                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
DMP:ICR                                              271 Cadman Plaza East
F. #2016R00532                                       Brooklyn, New York 11201

                                                     August 29, 2021



By ECF & Email

The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Sinmyah Amera Ceasar
                      Criminal Docket No. 17-48 (KAM)
                      Criminal Docket No. 19-117 (KAM)

Dear Judge Matsumoto:

              The government respectfully submits this letter to notify the Court of the arrest
of fugitive defendant Sinmyah Amera Ceasar; to request that the Court unseal both the
government’s letter to the Court dated August 25, 2021, and the arrest warrant issued by the
Court on August 25, 2021; and to renew the government’s August 23, 2021 motion for the
Court to immediately order the defendant’s detention pending further proceedings in the Court
of Appeals and in this Court.

               As the Court is aware, on August 25, 2021, the Probation Department’s Location
Monitoring Unit received a signal from the defendant’s GPS location monitoring ankle
bracelet indicating that the device had been tampered with or removed from Ceasar’s person,
and the defendant did not answer despite Probation’s repeated attempts to call her phone. The
defendant subsequently failed to appear as ordered by the Court at the video status conference
on August 25, 2021, at 9:00 a.m. The Court subsequently issued a warrant for the defendant’s
arrest.

               Following a nationwide fugitive investigation by the Federal Bureau of
Investigation (“FBI”), the defendant was arrested Friday afternoon by Special Agents of the
FBI in New Mexico. The defendant was not in possession of her GPS location monitoring
ankle bracelet at the time of her arrest. Through its investigation, the government has learned
that before she fled the defendant told others that she expected to be sent to prison at the August
25, 2021 status conference.
Case 1:19-cr-00117-KAM        Document 57         Filed 08/29/21   Page 2 of 2 PageID #: 618




               The government expects that the defendant will be taken before a U.S.
Magistrate Judge for the U.S. District Court for the District of New Mexico. The government
does not currently have details regarding the timing of the defendant’s appearance in New
Mexico, but will advise defense counsel as soon as it obtains that information. In advance of
the defendant’s anticipated appearance, and because the defendant is now in custody, the
government respectfully requests that the Court unseal the government’s August 25, 2021
letter and the August 25, 2021 arrest warrant.

               Finally, the government respectfully renews its August 23, 2021 motion for the
Court “to immediately order that the defendant be held in custody pending further proceedings
in the Court of Appeals and in this Court.” (Gov’t Mot. at 1, No. 17-CR-48 (KAM), ECF No.
156). As detailed in the government’s motion, 18 U.S.C. § 3143, which governs the question
of detention or release pending appeal and sentencing, see Fed. R. Crim. P. 46(c), requires the
Court to enter an order of detention, whether under § 3143(c) or § 3143(a). Further, in light
of the defendant’s attempted flight from prosecution, there is no longer any conceivable
argument that she is not a risk of flight, and thus she cannot satisfy § 3145(c)’s exception to
§ 3143(a)’s requirement of detention for “exceptional reasons.”

                                                    Respectfully submitted,

                                                    JACQUELYN M. KASULIS
                                                    Acting United States Attorney

                                           By:       /s/ Ian C. Richardson
                                                    Ian C. Richardson
                                                    Josh Hafetz
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cc:    Clerk of Court (KAM) (by ECF)
       Deirdre D. von Dornum, Esq. and Samuel Jacobson, Esq. (by Email and ECF)
       Richard Azarian, Supervisory U.S. Probation Officer (by Email)
       Michael Imrek, Senior U.S. Probation Officer (by Email)




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